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May 6, 2025                                                                      VIA ECF

Hon. Sidney H. Stein
United States District Court
500 Pearl Street
New York, NY 10007

Re:     Request for a Brief Continuance of the May 22 Status Conference
        In re OpenAI Copyright Infringement Litigation, No. 1:25-md-03143 (S.D.N.Y.)

Dear Judge Stein:

On April 30, 2025, in Case Management Order No. 1, this Court set an initial case management
conference in this multidistrict litigation for Thursday, May 22 at 10:00 a.m. Dkt. 14 at 1. The
Court further ordered that “[e]ach party represented by counsel shall appear at the initial case
management conference through the attorney who will have primary responsibility for that
party’s interest in this litigation.” Id. (emphasis added).

OpenAI writes to respectfully request a very brief continuance of the May 22 conference to a day
between May 27 and June 6, 2025, or to a day thereafter at the Court’s convenience. Robert A.
Van Nest, OpenAI’s lead trial counsel and the attorney who will have the primary responsibility
for OpenAI’s interest in this litigation, is unavailable the week of May 19 (including on the May
22 date currently scheduled) due to previously-scheduled international travel. This is OpenAI’s
first request for an adjournment in this multidistrict litigation. Microsoft does not oppose this
request.

Counsel for Plaintiffs oppose this request. See Exhibit A. In opposing, Plaintiffs essentially
insist that their lead attorneys must be present for the initial conference, but that OpenAI’s lead
counsel need not be. 1 And contrary to Plaintiffs’ statements otherwise, OpenAI has initiated and
engaged in multiple meet-and-confers regarding discovery issues since the JPML’s April 3
transfer order.

OpenAI looks forward to discussing the issues identified in the Court’s case management order
at the initial conference, and respectfully requests that the Court grant its request for a brief
continuance.


                                             Sincerely,

KEKER, VAN NEST &                  LATHAM & WATKINS LLP               MORRISON & FOERSTER
PETERS LLP                                                            LLP


/s/ Robert A. Van Nest        /s/ Herman Yue                          /s/ Joseph C. Gratz
Robert A. Van Nest             Herman Yue                             Joseph C. Gratz
Counsel for OpenAI Defendants


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  OpenAI asked Plaintiffs to investigate their availability from May 27–June 6, 2025. In their
response, Plaintiffs have failed to specify which attorneys they anticipate taking on the role of
“leadership counsel” for the MDL, Dkt. 14 at 2, are unavailable during that time.
